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                                     UNITED STATES DISTRICT COURT
                                     SOUTHFRN DISTMCT OF FLOMDA



  RICI-IARD DOWNER,
                                                                              CASE NO.: 12-cv-61384-RSR
                     P lainti ff,



  WESTON ALE HOUSE, LLC, d/b/a CAROLINA ALE
  HOUSE and GASFORAL, LLC,

                     Defe'ndants,


    JOIIVT MOTION TO DISMISS CASK WITH PREJUDICE PURSUANT. TO RULE 41 OF
                   THK FEDERAL RULES QF CIVIL PROCEDURE

             Plaintiff, RICHARD DOWNER, and Defendants,                      WESTON ALE HOUSE, LLC, d/b/a

    CAROLINA ALE HOUSE and CiASFORAL, LLC, by and through their respective counsel,

    hereby move this Honorable Court for an Order granting the dismissal with prejudice                  of this case
    with the Court retaining jurisdictio~ for enforcement purposes                of the settlement agreement                   and in

    support thereof.alleges     as follows:

                                                           FACTS

       1.    The parties     have   entered     into    a binding     confidential   Settlement   Agreement                     which

   requires certain actions to be taken post-disrnissa1            of the ease.
       2. There is no need for the case to bc pending during                   this time period as it is the
                                                                                                                parties'elief




            the parties will comply with same subsequent hereto.

                                          MEMORANDUM OF LAW

             Rule 41   of the   Federal Rules    of Civil Procedure allows for the Court to dismiss            the case

   and retain jurisdiction      for enforcement        purposes.    In re Ana o Franchisin        v. Shaz LLC 677

   Fed. 3rd 1272.
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            WHEREFORE, the parties hereto request this Court. enter the attached Order allowing for

   the dismissal    of the case   with prejudice and the Court retaining jutisdiction     of same,
   DA~D      this~        hay of   &3(J~.,2013.

                                                               Respectfully subrn&tted,



   CHRISTOPIIER J, STFRNS, JR,, ESQ;                           MARK D. COHEN, P.A.
   Attorn       f
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